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PETER W. T|LL, ESQ.

LAW OFFICES OF PETER W. T|LL
105 |\/|orris Avenue - Suite 201
Springfie|d, New Jersey 07081

(973) 258-0064 telephone

(973) 258-0478 facsimile

UN|TED STATES D|STR|CT COURT
FOR THE DISTR|CT OF NEW JERSEY

GEORGE R. LAUFENBERG,
P|aintiff, : Case No.:
-vs- : COMPLAINT AND JURY DEMAND

NORTHEAST CARPENTERS’ FUNDS :
a/k/a NORTHEAST REG|ONAL
COUNC|L OF CARPENTERS
(“Northeast Regiona| Counci|”);

NEW JERSEY CARPENTERS HEALTH:
FUND; NEW JERSEY CARPENTERS’
FUND; NEW JERSEY CARPENTERS’ .
PENS|ON FUND; ROBERT NAUGHTON,
Labor Trustee of Northeast Regiona|

. Counci| of Carpenters’ Fund; ROBERT
S/-\TR|ANO, Labor Trustee of Northeast :
Regiona| Counci| of Carpenters’ Fund;
|\/||CHAEL SHANAHAN, Labor Trustee
of Northeast Regional Counci| of
Carpenters’ Fund; WlLLlAI\/|

SPROULE, Labor Trustee and .
President of Northeast Regiona| Counci|
of Carpenters’ Fund; FREDERICK
SWAYZE, JR., Labor Trustee of
Northeast Regional Counci| of
Carpenters’ Fund; ROBERT TARBY,
Labor Trustee of Northeast Regiona|
Council of Carpenters’ Fund;

ANTHONY VERRELLI, Labor Trustee

of Northeast Regional Counci| of
Carpenters’ Fund; PETER

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WOODWARD, Labor Trustee of
Northeast Regional Counci| of
Carpenters’ Fund;

JOHN BALLANTYNE, Labor

Trustee and Executive Secretary-
Treasurer of Northeast Regiona|

Counci| of Carpenters’ Fund;

W|LL|Al\/| BANF|ELD, Labor

Trustee and Second Vice President of
Northeast Regiona| Counci| of
Carpenters’ Fund;

SCOTT COLTON, Labor Trustee of
Northeast Regional Counci| of
Carpenters’ Fund; :
|V||CHAEL DeROSA, Labor Trustee and
Executive Board l\/|ember of Northeast
Regiona| Council of Carpenters’ Fund;
DAV|D HA|NES, LaborTrustee and

First Vice President of Northeast
Regiona| Counci| of Carpenters’ Fund;
PAUL LEO, Labor Trustee of Northeast
Regiona| Counci| of Carpenters’ Fund;
ALEX LOPEZ, Labor Trustee of
Northeast Regiona| Counci| of
Carpenters’ Fund; THO|V|AS |V|A|RS,
Labor Trustee of Northeast Regiona|
Council of Carpenters’ Fund; JA|V|ES
l\/IALCOLIV|, LaborTruStee of Northeast :
Regiona| Counci| of Carpenters’ Fund;
JOHN DeLOLLlS, |\/|anagement

Trustee of Northeast Regional Counci|

of Carpenters’ Fund;

ROBERT EP|FANO, |\/|anagement
Trustee of Northeast Regional Council .
of Carpenters’ Fund; GLENN GARLATT|,
Management Trustee of Northeast
Regional Counci| of Carpenters’ Fund;
EARL R. HALL, |\/|anagement Trustee of:
Northeast Regiona| Counci| of Carpenters’
Fund; |\/|ARK HALL, |V|anagement
Trustee of Northeast Regiona| Council

of Carpenters’ Fund; TODD

HELFR|CH, I\/lanagement Trustee of
Northeast Regiona| Counci| of
Carpenters’ Fund; AARON H|LGER,
|\/|anagement Trustee of Northeast

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Regional Counci| of Carpenters’ Fund;
ER|C JENSEN, Management Trustee
of Northeast Regional Counci| of
Carpenters’ Fund; BRAD JORREY,
|\/|anagement Trustee of Northeast
Regiona| Counci| of Carpenters’ Fund;
JACK KOCS|S, I\/|anagement Trustee
of Northeast Regiona| Counci| of
Carpenters’ Fund; JA|V|ES LOGAN,
l\/|anagement Trustee of Northeast
Regiona| Council of Carpenters’ Fund;
BR|AN |\/|cGLONE, I\/|anagement
Trustee of Northeast Regiona| Counci|
of Carpenters’ Fund; JOHN O’HARE,
|\/|anagement Trustee of Northeast
Regional Counci| of Carpenters’ Fund;
F. MATTHEW PEPE, |\/|anagement
Trustee of Northeast Regiona| Counci| .
of Carpenters’ Fund; ROBERT POL|SANO,
I\/|anagement Trustee of Northeast
Regiona| Council of Carpenters’ Fund;
ADAl\/l SCH|\/||T, |V|anagement Trustee
of Northeast Regiona| Counci| of
Carpenters’ Fund; ALAN SE|D|\/|AN,
|V|anagement Trustee of Northeast
Regiona| Counci| of Carpenters’ Fund;
BRAD WALTERS, |V|anagement Trustee
of Northeast Regiona| Council of
Carpenters’ Fund; DARYL BODEWES,
Counci| |\/|ember/\Narden of Northeast
Regiona| Counci| of Carpenters’ Fund;
THO|\/|AS BUCCO, Counci|
|V|ember/Conductor of Northeast
Regiona| Council of Carpenters’ Fund;
DAN CHR|STY, Counci| |\/|ember/
Executive Board I\/|ember of Northeast
Regiona| Counci| of Carpenters’ Fund;
EUSTACE EGG|E, Counci| N|ember/
Executive Board |\/lember of Northeast
Regional Counci| of Carpenters’ Fund;
JOSEPH ELl\/|O, Counci| |\/|ember/
Executive Board I\/|ember of Northeast
Regiona| Counci| of Carpenters’ Fund;
EDWARD ENDERS, Counci| |\/lember/
Executive Board I\/lember of Northeast
Regiona| Counci| of Carpenters’ Fund;

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PETER GOW|NG, Council l\/lember/
Executive Board l\/lember of Northeast
Regional Council of Carpenters’ Fund;
DAN|EL SOUZA, Council l\/lember/
Executive Board l\/lember of Northeast
Regional Council of Carpenters’ Fund; '
JONATHAN YOUNG, Council l\/lember/
Executive Board l\/lember of Northeast
Regional Council of Carpenters’ Fund;

Defendants.

Plaintiff, George R. Laufenberg, through his attorneys LaW Offices of PeterW. Till,

105 l\/lorrls Avenue, Suite 201, Springfield, NeW Jersey 07081, as and for the Complaint

against the Defendants allege as follows:

JURlSD|CTlON AND VENUE

1. Plaintiff, George R. Laufenberg, resides at 2344 Ramshorn Drive, #63, Borough of
Allenwood, County of l\/lonmouth, State of New Jersey 08720.

2. The Defendants Northeast Carpenters’ Funds, NeW Jersey Carpenters’ Fund, and
New Jersey Carpenters’ Pension Fund are located at and having their principal offices
at Raritan Plaza ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex,
State of New Jersey.

3. The Plaintiff Was the Administrator of the Defendants/Labor Trustees of Northeast
Regional Council of Carpenters’ Fund located at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey until his Wrongful

termination on December 21, 2016.

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THE PART|ES

4. The Defendants/Labor Trustees of Northeast Regional Council of Carpenters’
Fund have their principal oches at Raritan Plaza ll, Post Office Box 7818, Township
of Edison, County of l\/liddlesex, State of New Jersey.

5. The Defendant New Jersey Carpenters Health Fund have their principal offices at
Raritan Center ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex,
State of New Jersey.

6. The Defendant Labor and l\/lanagement Trustee of the Northeast Regional Council
of Carpenters’ Fund are the Trustees of the Carpenters Annuity Fund, the Carpenters’
Retirement Fund, and the Carpenters’ Additional Security Benefits Fund.

7. The Plaintiff participated in the NeW Jersey Carpenters’ Pension Fund before it
Was merged into the Northeast Carpenters’ Pension Fund (the “Pension Fund” or the
“Retirement Fund”).

8. The Annuity Fund Was established pursuant to an Agreement and Declaration of
Trust in 1982 Which has been amended frorn time to time.

9. The Annuity Fund pays or provides annuity benefits to participants of the Annuity
Fund.

10. The Retirement Fund was established pursuant to an Agreement and Declaration
of Trust in 1958, Which has been amended from time to time.

11. The Retirement Fund pays or provides retirement benefits to participants of the

Retirement Fund,

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12. The Additional Security Benefits Fund (hereinafter referred to as “ASB Fund”) was
established pursuant to an Agreement and Declaration of Trust over multiple years,
which has been amended from time to time.

13. The ASB Fund pays or provides certain supplemental benefits, such as health
insurance coverage, vacation, unemployment, workers’ compensation, all
unreimbursed medical expenses and death benefits, to participants of the ASB Fund
of which the Plaintiff was a participant since his employment was original commenced
and with the establishment of each benefit.

14. The Benefit Funds are “employee benefit plans” established pursuant to 29 U.S.C.
Section 186(0)(5), 29 U.S.C. Sections 1002(a), 1002(2), 1002(3) and 1132(d)(1), and

are multi~employer Taft-Hartley plans with the meaning of 29 U.S.C. Sections
1002(37) and 1_145.

15. The collective purpose of the Benefit Funds is to provide retirement benefits and
various fringe benefits to eligible employees on whose behalf employers contribute to
the Benefit Funds, pursuant to collective bargaining agreements between certain
employers in the construction industry and the Northeast Carpenters Union (the
“Union”).

16. The Union is a local labor organization currently composed of more than 30,000
members representing, inter a/ia, employees of employers who are working in and
around New Jersey and the Greater New York l\/letropolitan area.

17. The Defendant Robert Naughton is a Labor Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box

7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested

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and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff as set forth hereinbelow.

18. The Defendant Robert Satriano is a Labor Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and otherwise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff as set forth hereinbelow.

19. Defendant l\/lichael Shanahan is a Labor Trustee ofthe Northeast Regional Council
of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

20. Defendant William Sproule is a Labor Trustee and President of the Northeast
Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post
Office Box 7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly
vested and otherwise authorized to vote on matters, which authority was wrongfully
exercised with respect to the Plaintiff set forth hereinbelow.

21. Defendant Frederick Swayze, Jr. is a Labor Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and otherwise authorized to vote on matters, which authority was wrongfully exercised

with respect to the Plaintiff set forth hereinbelow.

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22. Defendant Robert Tarby is a Labor Trustee of the Northeast Regional Council of
Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

23. Defendant Anthony Verrelli is a Labor Trustee of the Northeast Regional Council
of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, New Jersey, duly vested and othen/vise
authorized to vote on matters, which authority was wrongfully exercised with respect
to the Plaintiff set forth hereinbelow.

24. Defendant Peter Woodward is a Labor Trustee of the Northeast Regional Council
of Carpenters’ Fund with principal offices at Raritan Plaza lll Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

25. Defendant John Ballantyne is a Labor Trustee and Executive Secretary-Treasurer
of the Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan
Plaza ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of
New Jersey, duly vested and otherwise authorized to vote on matters, which authority
was wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

26. Defendant William Banfield is a l_abor Trustee and Second Vice President of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza

ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New

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Jersey, duly vested and otherwise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

27. Defendant Scott Colton is a Labor Trustee of the Northeast Regional Council of
Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

28. Defendant l\/lichael DeRosa is a Labor Trustee and Executive Board l\/lember of
the Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan
Plaza ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of
New Jersey, duly vested and otherwise authorized to vote on matters, which authority
was wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

29. Defendant David Haines is a Labor Trustee and First Vice President of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza
ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New
Jersey, duly vested and otherwise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

30. Defendant Paul Leo is a Labor Trustee of the Northeast Regional Council of
Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
otherwise authorized to vote on matters, which authority was wrongfully exercised with

respect to the Plaintiff set forth hereinbelow.

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31. Defendant Alex Lopez is a Labor Trustee of the Northeast Regional Council of
Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

32. Defendant Thomas l\/lairs is a Labor Trustee of the Northeast Regional Council of
Carpenters’ Fund with principal offices at Raritan Plaza l|, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

33. Defendant James l\/la|colm is a Labor Trustee of the Northeast Regional Council
of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
otherwise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

34. Defendant John DeLollis is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and otherwise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

35. Defendant Robert Epifano is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box

7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested

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and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

36. Defendant Glenn Garlatti is a l\/|anagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesexl State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

37. Defendant Earl R. Hall is l\/lanagement Trustee of the Northeast Regional Council
of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on matters, which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

38. Defendant l\/lark Hall is a l\/lanagement Trustee of the Northeast Regional Council
of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box 7818,
Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested and
othen/vise authorized to vote on mattersl which authority was wrongfully exercised with
respect to the Plaintiff set forth hereinbelow.

39. Defendant Todd Helfrich is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised

with respect to the Plaintiff set forth hereinbelow.

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40. Defendant Aaron Hilger is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesexl State of New Jersey, duly vested
and otherwise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

41. Defendant Eric Jensen is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

42. Defendant Brad Jorrey is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othenrvise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

43. Defendant Jack Kocsis is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

44. Defendant James Logan is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box

7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested

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and othenrvise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

45. Defendant Brian l\/chlone is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othenivise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

46. Defendant John O’Hare is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

47. Defendant F. l\/latthew Pepe is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

48. Defendant Robert Polisano is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised

with respect to the Plaintiff set forth hereinbelow.

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49. Defendant Adam Schmit is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and otherwise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

50. Defendant Alan Seidman is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

51. Defendant Brad Walters is a l\/lanagement Trustee of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly vested
and otherwise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

52. Defendant Daryl Bodewes is a Council l\/lember/VVarden of the Northeast Regional
Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post Office Box
7818, Township of Edison, County of l\/liddlesex, State of New Jerseyl duly vested
and othen/vise authorized to vote on matters, which authority was wrongfully exercised
with respect to the Plaintiff set forth hereinbelow.

53. Defendant Thomas Bucco is a Council l\/lember/Conductor of the Northeast
Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post

Office Box 7818, Township of Edison, County of l\/liddlesex, State of New Jerseyl duly

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vested and othen/vise authorized to vote on matters, which authority was wrongfully
exercised with respect to the Plaintiff set forth hereinbelow.

54. Defendant Dan Christy is a Council l\/lember/Executive Board l\/lember of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza
ll, Post Office Box 7818, Township of Edison, County of |\/liddlesex, State of New
Jersey, duly vested and otherwise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

55. Defendant Eustace Eggie is a Council l\/lember/Executive Board l\/lember of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza
ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New
Jersey, duly vested and othen/vise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

56. Defendant Joseph Elmo is a Council l\/lember/Executive Board l\/lember of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza
ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New
Jersey, duly vested and othen/vise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

57. Defendant Edward Enders is a Council l\/lember/Conductor of the Northeast
Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza ll, Post
Office Box 7818, Township of Edison, County of l\/liddlesex, State of New Jersey, duly
vested and othen/vise authorized to vote on matters, which authority was wrongfully

exercised with respect to the Plaintiff set forth hereinbelow.

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58. Defendant Peter Gowing is a Council l\/lember/Executive Board l\/lember of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan F’laza
ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New
Jersey, duly vested and othen/vise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

59. Defendant Daniel Souza is a Council l\/lember/Executive Board lVlember of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza
ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New
Jersey, duly vested and othen/vise authorized to vote on mattersl which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

60. Defendant Jonathan Young is Council l\/lember/Executive Board |\/lember of the
Northeast Regional Council of Carpenters’ Fund with principal offices at Raritan Plaza
ll, Post Office Box 7818, Township of Edison, County of l\/liddlesex, State of New
Jersey, duly vested and othen/vise authorized to vote on matters, which authority was
wrongfully exercised with respect to the Plaintiff set forth hereinbelow.

61. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. Section
1332 (a) because the matter in controversy exceeds the sum of $75,000.00 exclusive
of interest and costs and the Plaintiff and Defendants are citizens of different States.

62. This Court has subject matterjurisdiction pursuant to 28 U.S.C. Section 1331, 29,
U.S.C. Section 1332(e)(1) and 28 U.S.C. Section 1367.

63. Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(a) and (c).

64. Venue is further proper in this district, pursuant to 29 U.S.C. Section 1332€(2),

because the four 141 Benefit Funds, as hereinafter defined, were administered in this

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district, Defendants’ breadth of fiduciary duties to the Plaintiff to place in this district,
and the Defendants reside in or may be found in this district.
NATURE OF THE ACT|ON

65. This is an action for damages and equitable relief pursuant to the Employee
Retirement income Security Act of 1974, as amended (“ERISA"), 29 U.S.C. Sections
1001, et seq. and New Jersey State law.

66. As fiduciaries of the ERISA plans or benefit funds (the “Funds” or “Benefit Funds”)
described below, the Plaintiff brings this action, pursuant to 29 U.S.C. Section
1132(a)(2) and (a)(3) and New Jersey State law, against these Defendants, also
fiduciaries of said Benefit Funds, for having wrongfully denied and/or mismanaged the
Benefit Funds, thereby breaching the fiduciary duties they owed to the Plaintiff.

67. On December 20, 2016, the Plaintiff was asked to attend a meeting with Defendant
John Ballantyne, the Funds Attorneys l\/lr. Widman and lVlr. Kroll, the l\/lanagement
Co-Chairman l\/lr. John DeLolliss and Vice Chair Jack Kocsis.

68. At that conference the Plaintiff was asked to take a seat next to the “Funds”
Attorney l\/lr. Widman and directly across from the Defendant John Ballantyne. They
proceeded with questions of the Plaintiff about receiving his pension since October,
2015. The Plaintiff responded that as and because he was then sixty-five (65) years
old, he commenced collection of his pension, to which he believed he was entitled and
also continue working.

69. They confronted the Plaintiff and accused him of self-dealing and that the Plaintiff

would have to repay the pension payments already received.

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70. After further inquiry, the Plaintiff then responded that since 2001 he was in receipt
of, on a quarterly basis, his annuity contribution for which taxes were paid.

71. The attorney for the Board of Trustees, l\/lr. Jack Widman responded that the
Plaintiff would have to return and reimburse the annuity contribution previously taken
without identification of a sum certain.

72. The Plaintiff responded that the Funds’ accountant (David Evangelista) had
previously reviewed the subject of the Plaintiff collecting his pension upon reaching
the age of sixty-five (65) at the prior September 2015 Board of Trustees meeting.

73. The Plaintiff awaited a response from the Funds’ attorney and with no response
forthcoming the Plaintiff then commenced his pension on October 1, 2015.

74. The Funds’ attorney, lVlr. Jack Widman claimed he did not remember what wa
previously discussed with the Fund’s accountant (David Evangelista).

75. Accordingly, the Plaintiff asked lVlr. Jack Widman to kindly to put in writing how the
Trustees of the Funds would like to proceed.

76. On Wednesday, December 21, 2016 the Plaintiff received the Trustees of the
Funds ultimatum, at approximately 12:00 noon, to retire on December 29, 2016 or be
terminated on December 23, 2016.

77. Agreement to that ultimatum would and now immediately results in the Plaintiff
forfeiting over one million ($1,000,000) dollars of compensation to be paid pursuant to
the Plaintiff’s Employment Contract.

78. Accordinglyl the Plaintiff announced his refusal to that ultimatum and decided not

to retire, with no further discussion of the matters reviewed on December 20, 2016.

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79. The Plaintiff made attempts to connect with the Funds’ attorney, lVlr. Jack Widman
and finally on Thursday, December 22, 2016 did receive a return telephone call from
Funds’ attorney, l\/lr. Jack Widman, who again asked the Plaintiff if he had decided
whether to tender his resignation or not.

80. The Plaintiff advised he was compelled to seek legal advice and would then reply.

81. The Plaintiff then received another telephone call from Funds’ Attorney, l\/lr.
Widman where the Plaintiff advised that he would not agree to retire, whereupon l\/lr.
Jack Widman directed that the Plaintiff was to clear out his office that night (December
22, 2016) and not return.

82. The Plaintiff was fired by the Trustees on Thursday, December 22, 2016 although
he had been originally advised that termination would be effective Friday, December
23, 2016.

83. Since Thursday, December 22, 2016 the deferred compensation portion of
Plaintiff’s pension payments have been frozen and stopped. That pension payment
stands in excess of $14,000.00 a month and through the month of February, 2017
the Fund has now wrongfully withheld two (2) months payments and there is no
indication that said pension payments will be resumed at any time now or in the
future.

84. The Fund has also unilaterally and intentionally denied the Plaintiff access to his
annuity amount. That annuity account contains in excess of Seven Hundred

Thousand Dollars ($700,000.00).

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As of this date, the Fund continues to wrongfully withhold payment and othen/vise
deny the Plaintiff access to those annuity account funds and there is no indication that
said annuity account payments will be resumed at any time now or in the future.

85. The Fund has also wrongfully, unilaterally and intentionally denied the Plaintiff

payment of his salary under the Plaintiff’s Employment Contract.

As of this time, the Fund has wrongfully withheld two (2) months payments, totaling
$28,903.00, to date and there is no indication that payments under said Employment
Contract will be resumed at any time now or in the future.

86. On Thursday, December 22, 2016 the Plaintiff departed his office and drove his
business automobile home where it was left directly in front of his house after which
it was retrieved by the Fund,

87. The Plaintiff also left all of the business credit cards in his office simultaneously
with his departure on December 22, 2016.

88. The Plaintiff had previously purchased an iPhone and iPad for office use with
personal funds and was requested to keep all business information confidential which
Was done.

89. The Defendant Executive Secretary-Treasurer John Ballantyne then wrongfully,
maliciously and deliberately proceeded with the publication of a press release
announcing the Plaintiff’s firing, and has further personally directed the issuance and
publication of two (2) separate emails to the entire Union membership and then
followed by correspondence to the entire membership again wrongfully, maliciously
and deliberately restating and repeating his press release, all of which has portrayed

the Plaintiff “in a false light.”

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90. The press releases, emails and correspondence were transmitted to the entire
Northeast Regional Council of Carpenters membership by the Defendant Executive
Secretary-Treasurer John Ballantyne was intentionally and deliberately falsely
published without basis and intended to again portray the Plaintiff “in a false light.”

91 . From the outset, the Plaintiff received no explanation of the purported allegations,
either from the Trustees or through Fund counsel, l\/lr. Jack Widman, specifically as
to any questions about “self-dealing.”

92. At the meeting in which it is now clear that a deliberate pre-judgment had been
reached, the Plaintiff responded without reservation and with full clarity about the
proper exercise of his rights as enumerated above.

93. The freezing of the Plaintiff’s pension was utterly premature, wrong, deliberate,
without an accounting and without authority and othenNise done to intentionally and
deliberately exact injury upon the Plaintiff.

94. The Plaintiff had been employed by the Fund office since 1984, with never so much
as a suggestion of any kind, with respect to his fidelity and his performance as
Administrator on behalf of the Funds.

95. During his time as Administrator, there were no matters or issues as to jeopardy
and/or financial integrity of the Funds.

96. Any and all annual audits by independent accounting firms and United States
lnternal Revenue Service confirmed that the financial integrity of the “Funds"
throughout the Plaintiff’s administrative leadership as being utterly and completely

intact.

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97. Nevertheless, the Plaintiff was terminated on December 23, 2016 with four (4)
years left on his employment contracts. The employment contracts have in the past
and that currently in effect were initially entered into between the Plaintiff and the
then Trustees of the Funds in 1998 (the “Employment Contract”). The Employment
Contracts renewed for 5 year periods after initial establishment, unless the Trustees
of the Funds terminated the Employment Contracts within a specified time preceding
the expiration of each 5 year renewal.

98. ln accordance with his annual salary ($286,845.00) the Trustees consistently
awarded the Plaintiff at least one week holiday bonus pay based upon the number of
years of employment. The consistent award of the holiday bonus pay to the Plaintiff
is further evidence of the Trustee’s recognition of the Plaintiff’s excellent
administering the Funds. That bonus has also now been wrongfully and deliberately
denied to the Plaintiff despite the fact of his entitlement pursuant to the Employment
Contracts.

99. The Plaintiff’s annual salary as of December 20, 2016, was $286,845.00. With
four (4) years left on the Plaintiff’s Employment Contract the Plaintiff is immediately
entitled to the sum of $1,147,380.00 in wages.

100. The Employment Contracts further provided for a ten (10%) percent annual annuity
contribution

101. The Plaintiff is further eligible to collect his pension (both qualified and deferred
pension benefit, pursuant to a Supplement Executive Retirement Plan “SERP”)
totaling $672,000.00 for the next four (4) years and there is no indication that said

pension payment will be resumed at any time now or in the future.

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102. The Fund is currently only paying the “qualified pension amount” which is the sum
of $10,000.00 per month and has otherwise wrongfully and deliberately froze
$14,000.00 per month which is the “deferred pension amount,” which now totals as
due and owing $28,000.00 for the months of January 2017 and February 2017 and
there is no indication that it will be resumed at any time now or in the future.

103. The Fund has further wrongfully and deliberately denied access to and froze the
Plaintiff’s annuity which has $700,000.00 in the Plaintiff’s money purchase annuity
account, while also wrongfully and deliberately blocking access to another profit
sharing account containing $24,000.00. The Plaintiff has an absolute legal right to
these accounts. The withholding of payment and return of said funds to the Plaintiff
is illegal and a malicious action by the Trustees of the Funds.

104. The total loss, not including health coverage and various other benefits, pursuant
to the terms and conditions of the Employment Contracts, is presently set at
$1,933,760.00.

105. The Fund has wrongfully, deliberately, maliciously, unilaterally and illegally denied
the Plaintiff access and othenNise froze the above set forth funds. Under the Fund’s

contractual obligations, Plaintiff is now seeking judgment for these monies.

F|RST COUNT
jFraudj

106. Plaintiff repeats the allegations set forth in Paragraphs 1 through 105 as set forth
herein at length.
107. The Fund made the above stated representations with respect to the Plaintiff’s

employment with the intent that Plaintiff rely upon them.

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108.The Defendants have no basis upon which to deny the Plaintiff all of his
compensations and knew that the above stated representations on or after December
20, 2016 were false at the time that they were made to Plaintiff.

109. The Plaintiff reasonably relied on the terms and conditions of the Employment
Contract and additional terms and conditions of the Benefit Funds,

110. As a result of the Plaintiff’s reliance on Defendants’ representations and the
Defendants’ breach of those contractual conditions, the Plaintiff has incurred
damages
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:

(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1,
2016 and the payment of benefits which flowed therefrom;

(b) for punitive damages;

(c) for interest;

(d) for costs of suit;

(e) for attorneys’ fees; and

(f) for such other relief as the Court deems just.

SECOND COUNT
nguitable Fraudj

111. The Plaintiff repeats the allegations set forth in Paragraphs 1-110 as set forth

herein at length.

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112. Defendants made the above stated representations with the intent that the Plaintiff
reply upon them.
113. The Plaintiff believed the representations to be true at the time that they were
made.
114. The Plaintiff reasonably relied on the above stated representations
115. As a result of the Plaintiff’s reliance on Defendants’ representations the Plaintiff
incurred damages.
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:
(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1,
2016 and the payment of benefits which flowed therefrom;
(b) for punitive damages;
(c) for interest;
(d) for costs of suit;
(e) for attorneys’ fees; and
(f) for such other relief as the Court deems just.

TH|RD COUNT
(Neg|igent Misrepresentation)

116. The Plaintiff repeats the allegations set forth in Paragraphs 1-115 as set forth
herein at length.

117. The Defendants above stated representations were negligently made.

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118. The above stated representations were false when made.
119. The Plaintiff believed the representations to be true at the time that they were
made.
120. The Plaintiff relied on the above stated representation.
121. As a result of the Plaintiff’s reliance on Defendants’ representations, the Plaintiff
incurred damages
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:
(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the Health
Fund which paid Plaintiff’s salary on and after January 1, 2016 and
the payment of benefits which flowed therefrom;
(b) for punitive damages;
(c) for interest;
(d) for costs of suit;
(e) for attorneys’ fees; and
(f) for such other relief as the Court deems just.

FOURTH COUNT
jUnjust Enrichment)

122. The Plaintiff repeats the allegations set forth in Paragraphs 1-121 as set forth
herein at length.
123. The Defendants received and continue to wrongfully retain and have frozen the

Plaintiff’s monies and to which Plaintiff is lawfully and immediately entitled.

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124. Any reason for continuing with the present campaign of denying the Plaintiff his
compensation and retirement monies, such reasons for such denial are othen/vise
false and pretextual and specifically are designed to deny said funds which the
Plaintiff has worked his entire career to earn.

125. By virtue of Defendants’ retention of said funds, it has been unjustly enriched.
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:

(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1,
2016 and the payment of benefits which flowed therefrom;

(b) for punitive damages;

(c) for interest;

(d) for costs of suit;

(e) for attorneys’ fees; and

(f) for such other relief as the Court deems just.

F|FTH COUNT
jBreach of Contract)

126. The Plaintiff repeats the allegations set forth in Paragraphs 1-125 as set forth

herein at length.
127. As aforementioned, on or about 1984 Plaintiff entered into an employment contract

with Defendants, which was amended in 1998 to the current Employment Agreement,

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whereby Plaintiff was retained as Administrator and Fund l\/lanager to the Benefit
Funds and is entitled to benefits thereunder.

128. Now in breach of said Employment Contract and the provisions of the Benefit
Funds, the Defendants have retained millions of dollars in amounts clearly owed to
the Plaintiff.

129. There is no justification for Defendants to withhold these amounts with respect to
the services provided by the Plaintiff over a significant number of years.
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:

(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1,
2016 and the payment of benefits which flowed therefrom;

(b) for punitive'damages;

(c) for interest;

(d) for costs of suit;

(e) for attorneys’ fees; and

(f) for such other relief as the Court deems just.

SlXTH COUNT
(Common Law Fraud)

130. The Plaintiff repeats the allegations set forth in Paragraphs 1-129 as set forth

herein at length.

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131 . ln connection with the Benefit Funds, Defendants, directly and indirectly, alone and
in concert, knowingly or with reckless disregard, employed devices schemes and
artifices to defraud, make untrue statements of material facts, and/or omit to state
necessary material facts in order to make statements egregiously misleading, and
aided and abetted each other and others who may have worked together with theml
in all such fraudulent conduct to deny Plaintiff his earned contractual payments and
benefits.

132. Throughout the course of dealing with the Benefit Funds, the Defendants through
the Trustees made statements written or oral to the effect that these were legitimate
contractual payments and benefits to which the Plaintiff was fully entitled

ln addition, payments to the Plaintiff were fully and properly reflected on lnternal
Revenue Service Forms W-2 and Form 990s.

Additionally, counsel, accountants and actuaries paid by the Defendants Trustees
and/or Benefits Funds had full and unrequited access to said information and were
othenNise fully apprised of any allegation.

The denial of all entitlements to the Plaintiff on the grounds that the Defendants
were without knowledge of the pension and other benefits owed to the Plaintiff and
payments owed to the Plaintiff under the Employment Contract, is false, otherwise
without support and wrongful and illegal conduct by the Defendants

133. lt is now clear that representations and promises were made by the Defendants
with the intent to deceive the Plaintiff.

134. The Plaintiff did not know of the falsity of the representations

135. The Plaintiff reasonably relied upon such representations to his detriment

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136. The representations were material and the Plaintiff reasonably relied upon the
representations of Defendants

137. The Defendants knew the Plaintiff was relying on their representations that
payments under the Employment Contract and amounts held under the Funds would
be available.

138. Thus, Defendants have deceived Plaintiff and defrauded the Plaintiff by
withholding and freezing the above funds due to the Plaintiff.

139. At all relevant times, Plaintiff did not know of the untruths and misrepresentations
described above.

140. To the contrary, Plaintiff relied in good faith upon the statements and
representations of Defendants and Plaintiff believed those representations to be true
and complete and did not have knowledge that payments and benefits would be
denied to the Plaintiff based on false allegations

141. By reason of the foregoing, Plaintiff has been damaged in an amount as yet to be
determined, but believed to exceed five million ($5,000,000.00) dollars and Plaintiff is
entitled to punitive damages from the Trustees in an amount to be determined at trial.
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:

(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1,

2016 and the payment of benefits which flowed therefrom;

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(b) for punitive damages;

(c) for interest;

(d) for costs of suit;

(e) for attorneys’ fees; and

(f) for such other relief as the Court deems just.

SEVENTH COUNT
(Conversion)

142. The Plaintiff repeats the allegations set forth in Paragraphs 1-141 as set forth
herein at length.

143. Defendant Trustees have misappropriated and converted for their own use the
Benefit Funds’ assets without the consent of Plaintiff.

144. Despite due demand, Defendants have failed and refused to provide such
documentation as well as an accounting to establish the bona fides of Defendants’
withholding and freezing of all of the Plaintiffs accounts

145. As a direct and proximate result of the unlawful misappropriation and conversion
of the Plaintiff’s assets the Plaintiff has been and continues to be damaged in an
amount as yet to be determined, but believed to exceed five million ($5,000,000.00)
dollars

146. ln misappropriating and converting the Plaintiff’s assets, the Defendants have
been guilty of oppression, fraud and malice, and have acted in conscious disregard
to the Plaintiff’s rights entitling Plaintiff to recover punitive damages against the
Trustees in an amount as yet to be determined, but believed to exceed five million

($5,000,000.00) dollars

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WHEREFORE the Plaintiff demands judgment on this Count against the
Defendants as follows:

(a) for compensatory damages, general and special and against the
Pension Fund which paid Plaintiff’s salary pursuant to his
Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1,
2016 and the payment of benefits which flowed therefrom;

(b) for punitive damages;

(c) for interest;

(d) for costs of suit;

(e) for attorneys’ fees; and

(f) for such other relief as the Court deems just.

ElGHTH COUNT
(Breach of the implied Covenant of Good Faith and Fair Dea|inq)

147. The Plaintiff repeats the allegations set forth in Paragraphs 1-146 as set forth
herein at iength.

148. in entering into the contracts with Defendants, Plaintiff reposed trust and
confidence in Defendants, to, among otherthings, deal with the Benefit Funds fairly in
all of their affairs

149. Defendants knew of and accepted such trust and confidence at the time they
entered into the contract with the Plaintiff.

150. in entering into the contracts with the Plaintiff, Defendants impliedly covenanted

that they would deal with the Plaintiff fairly and in good faith and would not capriciously

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or without good cause deprive the Plaintiff of the benefits under the Benefit Funds or
payments under the Plaintiff’s Employment Contract.

151. By its act, Defendants have breached their covenant of good faith and fair dealing
towards Plaintiff.

152. in breaching their covenant of good faith and fair dealing towards Plaintiff,
Defendants have been guilty of oppression, fraud and malice, and have acted in
conscious disregard of Plaintiff’s rights, entitling Plaintiff to recover punitive damages
in an amount as yet to be determined, but believed to exceed five million
($5,000,000.00) dollars
WHEREFORE the Plaintiff demands judgment on this Count against the Defendants
as follows:

(a) for compensatory damages, and general and special damages
against the Pension Fund which paid Plaintiff’s salary pursuant to
his Employment Contract through December 31, 2015 and the
Health Fund which paid Plaintiff’s salary on and after January 1
2016 and the payment of benefits which flowed therefrom;

(b) for punitive damages;

(c) for interest;

(d) for costs of suit;

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(e) for attorneys’ fees; and

(f) for such other relief as the Court deems just.

LAW OFF|CES OF PETER W. TiLL
Attorneys for the Plaintiff

 

Dated: February 21, 2017 BY: /s/ PeterW. Tiil
Peter W. Tiil
JURY DEMAND

Plaintiff demands a trial by jury as to all issues so triable.

LAW OFF|CES OF PETER W. TiLL
Attorneys for the Plaintiff

Dated: February 21, 2017 BY: /s/ PeterW. Tiil
PeterW. Tiil

 

CERT|F|CAT|ON

l hereby certify that the matter in controversy is not the subject of any other
Court, arbitration or administrative proceeding

LAW OFF|CES OF PETER W. T|LL
Attorneys for the Plaintiff

Dated: February 21, 2017 BY: /s/ PeterW. Tiil
Peter W. Tiil

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CERT|F|CAT|ON PURSUANT TO LOCAL RULE 201.1

Plaintiff, George R. Laufenberg, through its undersigned counsel, hereby certifies
that the damages recoverable in this action exceed $150,000, exclusive of interest, costs
and any claim for punitive damages

LAW OFF|CES OF PETER W. TiLL
Attorneys for the Plaintiff

Dated: February 21, 2017 BY: /s/ Peter w. Tiil
PeterW. Tiil

 

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